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                                             U.S. Department of Justice

                                                              United States Attorney
                                                              Southern District of New York

                 MEMO ENDORSED                                United States District Courthouse
                                                              300 Quarropas Street
                                                              White Plains, New York 10601


                                                              January 8, 2021
BYECF

The Honorable Kenneth M. Karas
United States District Court
Southern District ofNew York
300 Quarropas Street
White Plains, New York 10601

           Re:    United States v. Randy Sargeant, et al., 19 Cr. 666 (KMK)

Dear Judge Karas:

        The Government writes, with the consent of defense counsel, to request an approximately
45 day adjournment of the motions schedule and upcoming status conference in this case. The
status conference is currently scheduled for January 13, 2021. The parties sought five previous
adjournments of this status conference and the motions schedule, which were granted. Based on
the 58-day adjournment the Court granted for the last status conference date, the motions schedule
is currently the following: motions due by February 12, 2021; opposition due by April 1, 2021 ;
and replies due by April 22, 2021.

       The Government is seeking the adjournment in light of the warnings against travel on
public transportation and the guidance encouraging limited contact in light of COVID-19.
Moreover, the parties are currently discussing potential dispositions of the case prior to trial.
Additionally, the Government has produced discovery, which the defense is currently reviewing.
To allow the defense time to review the discovery and determine what motions, if any, they wish
to make, the Government requests that the time between the date of this letter and the next
scheduled conference date be prospectively excluded under the Speedy Trial Act, 18 U.S .C. §
3161 (h)(7)(A), in the interest of justice.

                                                              Respectfully submitted,
 Granted. The 1/13/21 conference is adjourned to
 2/24/21 at 11 am. Time is excluded until then , in the
 interests of justice, to allow the Parties adequate time         AUDREY STRAUSS
 for briefing of pre-trial motions and for discussions            Acting United States Attorney
 toward a disposition. The interests of justice from this
 exclusion outweigh Defendants' and the public's
 interest in a speedy trial. See 18 U.S.C. Section
 3161 (h)(7)(A).                                            By:          Is
 So Ordered.
                                                                  Christopher D. Brumwell
                                                                  Assistant United States Attorney

~L
 1/11/21
                                                                  917-710-0661
